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8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   RALPH COLEMAN, et al.,

11                  Plaintiffs,                   No. CIV S-90-0520 LKK JFM P

12           vs.

13   ARNOLD SCHWARZENEGGER,
     et al.,
14
                    Defendants.                   ORDER
15                                       /

16                  On July 28, 2005, inmate Christopher T. Burns filed a document styled “Notice of

17   Motion and Motion for Mental Health Case Review by Special Master.” Plaintiffs in this class

18   action lawsuit are represented by counsel. Good cause appearing, the Clerk of the Court will be

19   directed to send a copy of inmate Burns’ motion to plaintiffs’ counsel. The court will not take

20   any further action on inmate Burns’ pro se request.

21                  In accordance with the above, IT IS HEREBY ORDERED that:

22                  1. The Clerk of the Court is directed to send a copy of inmate Christopher T.

23   Burns’ July 28, 2005 motion to counsel for plaintiffs; and

24   /////

25   /////

26   /////

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1                  2. The Clerk of the Court is directed to serve a copy of this order on inmate

2    Christopher T. Burns at the address on his July 28, 2005 motion.

3    DATED: September 7, 2005.

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